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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK

 Richard Roe,                                   19-cv-04694

                            Plaintiff,          PKC-RER

                -against-

 St. John’s University and Jane Doe,

                            Defendants.




       DEFENDANT JANE DOE’S MEMORANDUM OF LAW IN SUPPORT OF
  DEFENDANT ST. JOHN’S UNIVERSITY’S MOTION TO DISMISS THE AMENDED
 COMPLAINT TO ADDRESS THE ISSUES OF PLAINTIFF’S USE OF A PSEUDONYM
 IN THIS CASE AND LACK OF JURISDICTION SHOULD ST. JOHN’S UNIVERSITY’S
                    MOTION TO DISMISS BE GRANTED




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                                 PRELIMINARY STATEMENT

        After sexually assaulting Doe, engaging in a campaign of intimidation and harassment

 against her, and plunging her into the darkest depths of emotional and mental anguish, the

 Plaintiff sued Doe in this lawsuit anonymously so he could continue to hide from the truth—his

 disturbingly identical patterns of sexual assault against women and the consequences that

 appropriately have followed his own actions.

        Plaintiff has been accused by multiple female students at St. John’s University of sexual

 assaults. At least two of these instances have been reported to the University directly—one of

 which was brought to the attention of the University by Defendant Doe—and have resulted in

 extensive investigations and ultimately, Plaintiff’s suspension from the University. Plaintiff now

 seeks to improperly hide under the cloak of anonymity while he sues the University and

 Defendant Doe (his victim!).

        Doe was sexually assaulted by the Plaintiff in her dorm room while participating in the

 University’s study abroad program. Plaintiff entered her room while she was sleeping, and she

 awoke to him on top of her digitally penetrating her vagina. After Doe reported this crime to the

 University and authorities, the Plaintiff harassed and intimidated Doe, incited his friends and

 fellow SJU students to taunt Doe, took every opportunity to label Doe a liar and a slut and then

 sued Doe for defamation in this action.

        Plaintiff chose to initiate this action against the University and his victim in this Court.

 Plaintiff should proceed under his full legal name and the caption of this action should be

 amended accordingly. Additionally, should St. John’s University’s motion to dismiss be granted,

 Plaintiff’s claims against Doe should be dismissed for lack of jurisdiction.




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                                   SUMMARY OF THE FACTS

        Plaintiff and Doe were both in Paris, France in April 2018 as part of St. John’s

 University’s study abroad program. (Second Amended Complaint (Dkt. No. 23) (hereinafter

 “Amended Compl.”) at ¶13; Jane Doe’s Answer and Counterclaims (Dkt. No. 27) (hereinafter

 “Counterclaims”) at ¶ 173-175). On April 12, 2018, Plaintiff and Doe had both gone out to the

 same club in Paris, Le Duplex, with different groups of friends. (Amended Compl. at ¶13;

 Counterclaims at ¶177). Doe arrived at Le Duplex first and sometime later Plaintiff and his

 friends arrived. (Counterclaims at ¶ 179). While at the club, Doe was dancing with her friends

 when Plaintiff pulled Doe over to dance with him and then he kissed her. (Id. at ¶ 180). Doe

 immediately signaled her discomfort to her friend who came over and pulled Doe away from

 Plaintiff and they rushed to the bathroom together to get away from Plaintiff. (Id. at ¶ 182).

        Doe and her friend decided to leave Le Duplex. (Id. at ¶ 183). Doe and her friend

 returned to the campus and went straight to Doe’s room. (Id. at ¶ 188). Doe’s friend left the

 room and Doe fell asleep on the bottom bunkbed. (Id.) Doe’s roommate was also in the room

 and was on her computer on the top bed bunk. (Id.)

        At some point after Doe fell asleep, Plaintiff entered Doe’s dorm room while Doe was

 still sleeping. (Id. at ¶ 189). Doe awoke to Plaintiff on top of her in bed. (Id. at ¶ 191). Doe’s

 pants had been pulled down and Plaintiff was digitally penetrating her vagina. (Id.) Doe was

 frozen in shock and initially could not speak or scream. (Id. at ¶ 193). Doe managed to turn

 herself over and told Plaintiff to stop. (Id. at ¶ 194). Doe then felt Plaintiff begin to masturbate

 against her back. (Id. at ¶ 195). Doe again told Plaintiff to stop and to leave her room. (Id. at ¶

 196). Plaintiff then got up and left Doe’s room. (Id. at ¶ 196).

        As soon as Plaintiff left, Doe got out of bed and showed her roommate her disheveled




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 clothing and dropped pants and told her roommate that Plaintiff had just sexually assaulted her

 while she was asleep and that she had just kicked him out. (Id. at ¶ 197). Doe and her

 roommate immediately alerted St. John’s University to Plaintiff’s entrance into her room while

 she was asleep and his sexual assault upon her. (Id. at ¶ 198). Doe also reported the incident to

 the Paris Campus security guard, the Residence Assistant, the Residence Director, the Paris

 Campus administrators, and the Paris police in the 14th Arrondisement Mall. (Id. at ¶199 & ¶

 206). Plaintiff was arrested and held by the Paris police as a result of Doe’s report of the sexual

 assault. (Id. at ¶ 207). The Paris police ultimately dismissed the case due to the contradictory

 stories that they received from Doe and Plaintiff. (Id. at ¶ 209).

        In response to Doe’s repeated complaints, St. John’s put a “no-speaking,” no-contact

 order in place between Plaintiff and Doe on April 13, 2018. (Id. at ¶ 201). On April 16, 2018,

 an additional restriction was put into the no-contact order declaring that neither Plaintiff nor Doe

 were permitted on each other’s dorm floors on the Paris Campus. (Id. at ¶ 203). Plaintiff was

 eventually removed from the Paris Campus by St. John’s University but permitted to continue

 studying abroad. (Id. at ¶ 210).

        Plaintiff and Doe returned to New York at the conclusion of the study abroad program on

 May 11, 2018. (Id. at ¶ 216). St. John’s University held a disciplinary hearing on October 3,

 2018 to address the sexual assault. (Id. at ¶ 217). On October 16, 2018, Doe was notified that

 Plaintiff was suspended from St. John’s University. (Id. at ¶ 218). Doe was notified that

 Plaintiff had appealed the University’s suspension and that the University had denied Plaintiff’s

 appeal. (Id. at ¶¶ 219 & 220).

        On January 4, 2019, a tweet was published from an unknown Twitter account, St. John’s

 Memes @vincentianmemes, regarding Roe with the hashtag “#survivingSJU.” (Id. at ¶ 221).




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 Doe “liked” the @vincentianmemes tweet. (Amended Compl. at ¶ 40; Counterclaims at ¶ 222).

 On January 4, 2019, Doe posted a tweet from her own Twitter account: “I should have been

 writing essays but instead I was writing my final statement #survivingsju.” (Amended Compl. at

 ¶ 40; Counterclaims at ¶ 223). This tweet is just one example of the advocacy done by Doe

 against sexual assault. (Counterclaims at ¶ 224).

         On January 5, 2019, the day after the tweets, another complaint was lodged against Roe

 by a second female victim (“Mary Smith”), who similarly accused Roe of sexual misconduct.

 (Amended Compl. at ¶ 46). Smith reported that she fell asleep on the living room couch and

 awoke to Roe lying behind her with his hand inside her pants, penetrating her vagina with his

 fingers. (Id. at ¶¶ 96-108). St. John’s investigated this incident as well. (Id. at ¶ 109).

                                            ARGUMENT

         Plaintiff has improperly pursued this action under a pseudonym without court permission

 and in violation of the Federal Rules of Civil Procedure and Second Circuit case law. Should the

 Court grant all other aspects of St. John’s motion to dismiss, Plaintiff’s remaining claims against

 Doe should also be dismissed for lack of jurisdiction.

 I.      PLAINTIFF SHOULD AMEND THE CAPTION AND PROCEED UNDER HIS
         LEGAL NAME

      Plaintiff should proceed under his legal name in this action.

      A. Plaintiff’s use of pseudonym violates Federal Rule of Civil Procedure 10(a)

      Federal Rule of Civil Procedure 10(a) requires that “[t]he title of [a] complaint must name all

 the parties.” “This requirement, though seemingly pedestrian, serves the vital purpose of

 facilitating public scrutiny of judicial proceedings and therefore cannot be set aside lightly.”

 Sealed Plaintiff v. Sealed Defendant #1, 537 F.3d 185, 188–89 (2d Cir. 2008). Identifying

 parties in a proceeding “is an important dimension of publicness, as people have a right to know



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 who is using their courts.” United States v. Pilcher, 950 F.3d 39, 42 (2d Cir. 2020) (internal

 citations omitted).

     B. Plaintiff’s use of pseudonym violates Second Circuit case law

     The Second Circuit, in Sealed Plaintiff, 537 F.3d 185, set forth ten “non-exhaustive” factors

 that courts should consider when a party requests to proceed in the action by using a

 pseudonym.1 In a recent Second Circuit decision from February 2020, the court explained that

 these factors are designed to “weigh the plaintiff’s interest in anonymity against both the public

 interest in disclosure and any prejudice to the defendant.” Pilcher, 950 F.3d at 42 (internal

 citations omitted). These factors are:


     1. Whether the litigation involves matters that are highly sensitive and of a personal nature;

     2. Whether identification poses a risk of retaliatory physical or mental harm to the party
        seeking to proceed anonymously or even more critically, to innocent non-parties;

     3. Whether identification presents other harms and the likely severity of those harms,
        including whether the injury litigated against would be incurred as a result of the
        disclosure of the plaintiff’s identity;

     4. Whether the plaintiff is particularly vulnerable to the possible harms of disclosure
        particularly in light of his age;

     5. Whether the suit is challenging the actions of the government or that of private parties;

     6. Whether the defendant is prejudiced by allowing the plaintiff to press his claims
        anonymously, whether the nature of the prejudice (if any) differs at any particular stage
        of the litigation, and whether any prejudice can be mitigated by the district court;

     7. Whether the plaintiff’s identity has thus far been kept confidential;

     8. Whether the public’s interest in the litigation is furthered by requiring the plaintiff to
        disclose his identity;

     9. Whether, because of the purely legal nature of the issues presented or otherwise, there is
        an atypically weak public interest in knowing the litigants’ identities; and

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  Plaintiff in this case—to our knowledge—has never requested permission from this Court to proceed in this action
 under a pseudonym.



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     10. Whether there are any alternative mechanisms for protecting the confidentiality of the
         plaintiff.

  Sealed Plaintiff, 537 F.3d at 189-190 (internal citations omitted) (finding that plaintiff – despite

  being convicted of child pornography – could not proceed under a pseudonym).

         “[A] district court is not required to list each of the factors or use any particular

  formulation as long as . . . the court balance[s] the interests at stake in reaching its conclusion.”

  Id. at 191, n.4. Nevertheless, in this case, all factors weigh against Roe’s anonymity.


  Factor 1: Whether the litigation involves matters that are highly sensitive and of a personal
  nature

         The facts here relate directly to Plaintiff’s sexual assault of Doe while both were St.

  John’s University students during their participation in the St. John’s study abroad program.

  Plaintiff Roe chose to hire legal counsel. Plaintiff Roe chose to bring this lawsuit against St.

  John’s (his former University) and Doe (his victim). Plaintiff Roe chose to bring his claims to

  the judicial system for adjudication. Plaintiff Roe chose to make sensitive allegations about his

  sexual encounters with Doe and Mary Smith public through the judicial system. Doe had no

  choice in any of this. She did not choose to re-live this nightmare. She did not choose to be sued

  by her attacker. She did not choose to be dragged into the courthouse. Plaintiff Roe must not be

  allowed to now hide behind the “personal nature” of his very public allegations that he chose to

  assert against Doe and others.

         Indeed, Doe’s need for confidentiality—as Plaintiff’s victim—can be clearly contrasted

  with Plaintiff’s. Although “allegations of sexual assault, by themselves, are not sufficient to

  entitle a plaintiff to proceed under a pseudonym,” see Doe v. Skyline Automobiles, Inc., 375 F.

  Supp. 3d 401, 405 (S.D.N.Y. 2019), “courts have recognized the important public interest in




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  protecting the identities of sexual assault victims to ensure that other victims would not be

  deterred from reporting similar crimes.” Doe v. Vassar College, No. 19-CV-09601 (NSR), 2019

  WL 5963482, *2 (S.D.N.Y. Nov. 13, 2019) (emphasis added); see Lawson v. Rubin, No. 17-cv-

  6404 (BMC) (SMG), 2019 WL 5291205 (E.D.N.Y. Oct. 17, 2019) (Plaintiffs “allege that Rubin

  raped and beat them, leading to injuries that required cosmetic and dental reconstructive surgery.

  These allegations are highly sensitive and of an extremely personal nature, and the public has an

  interest in permitting victims of sexual assault to proceed pseudonymously, both to protect

  victims’ privacy and to avoid deterring other victims from coming forward.”).


  Factor 2: Whether identification poses a risk of retaliatory physical or mental harm to the
  party seeking to proceed anonymously or even more critically, to innocent non-parties

         Disclosure of a plaintiff’s identity is disfavored where the identification poses a risk of

  retaliatory physical or mental harm. “The risks must be more than speculative claims of physical

  or mental harms” and “[a] risk of retaliation may be found where there is a history of

  substantiated prior action directed at plaintiff(s) from defendant(s).” Doe v. Townes, No. 19-cv-

  8034 (ALC) (OTW), 2020 WL 2395159, at *4 (S.D.N.Y. May 12, 2020) (citations omitted). A

  defendant’s prior knowledge of a plaintiff’s identity weighs against a finding of retaliatory

  physical or mental harm and “[e]vidence of embarrassment, social stigmatization, and economic

  harm are insufficient to proceed anonymously.” Id. Where a plaintiff has alleged that he has

  already suffered from alleged defamation, further identification of that plaintiff in a legal action

  is unlikely to cause mental harm that has not already been caused by events that preceded the

  action. See A.B. v. C.D., No. 2:17-cv-5840 (DRH) (AYS), 2018 WL 1935999, at *2 (E.D.N.Y.

  Apr. 24, 2018) (“Plaintiff states that he has already suffered from the alleged defamation by

  losing his livelihood. Therefore, identifying him here is unlikely to cause mental harm that has




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  not already been caused by the events that preceded this action.”). “Moreover, some courts have

  suggested that a plaintiff should submit medical documentation to support the alleged harm they

  will suffer if they were not permitted to proceed anonymously.” Skyline Automobiles Inc., 375

  F. Supp. 3d at 406 (citing Doe v. New York, 2016 U.S. Dist. LEXIS 1634, at *7 (S.D.N.Y. Feb.

  4, 2016)).

         Roe’s identity is already known by the defendants in this matter and Roe cannot

  demonstrate any risks of retaliatory physical or mental harm. There is no history of retaliation

  from either defendant against Roe and Roe has already alleged that he has suffered from alleged

  defamation making further identification of Roe unlikely to cause him mental harm. Any harm

  Roe may attempt to claim would fall under the categories of embarrassment, social

  stigmatization, and economic harm which are insufficient to proceed under a pseudonym.


  Factor 3: Whether identification presents other harms and the likely severity of those
  harms, including whether the injury litigated against would be incurred as a result of the
  disclosure of the plaintiff’s identity

         “The third factor asks whether identification presents other harms and the likely severity

  of those harms, including whether ‘the injury litigated against would be incurred as a result of

  the disclosure of the plaintiff’s identity.’” A.B. v. Hofstra Univ., No. 2:17-cv-5562 (DRH)

  (AYS), 2018 WL 1935986, at *2 (E.D.N.Y. Apr. 24, 2018) (citing Sealed Plaintiff, 537 F.3d at

  187). This factor only supports the use of a pseudonym where the need for anonymity is based on

  something more than “attenuated and speculative risks of harm.” United States v. UCB, Inc., No.

  14-CV-2218 (TPG), 2017 WL 838198, at *4 (S.D.N.Y. Mar. 3, 2017) (“The Court finds, as an

  initial matter, that Nash’s articulated need for anonymity is based on attenuated and speculative

  risks of harm”). Here, this factor does not weigh in Roe’s favor. For the reasons previously




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  discussed in the second factor above, there is little risk of other harms or of incurring the injury

  litigated against.


  Factor 4: Whether the plaintiff is particularly vulnerable to the possible harms of
  disclosure particularly in light of his age

          The fourth factor also weighs against Plaintiff as he is not a member of a population that

  is particularly vulnerable to the possible harms of disclosure, such as young children. See A.B. v.

  C.D., 2018 WL 1935999, at *3. Here, Plaintiff Roe is an adult that has chosen to pursue this

  action against his former university and sexual assault victim. The fourth factor weighs against

  proceeding anonymously.


  Factor 5: Whether the suit is challenging the actions of the government or that of private
  parties

          This suit is brought by a private party (Plaintiff Roe) against two private parties

  (Defendants St. John’s University and Doe). No governmental actions are being challenged.

  Therefore, the fifth factor weighs against the Plaintiff. See Sealed Plaintiff, 537 F.3d at 187

  (anonymity not warranted in sexual discrimination and harassment suit against private parties

  where no privacy interest beyond personal embarrassment identified) (internal citations omitted).

  See also A.B. v. C.D., 2018 WL 1935999, at * 3.


  Factor 6: Whether the defendant is prejudiced by allowing the plaintiff to press his claims
  anonymously, whether the nature of the prejudice (if any) differs at any particular stage of
  the litigation, and whether any prejudice can be mitigated by the district court

          When determining whether a plaintiff may proceed anonymously, the Second Circuit has

  instructed courts to consider “whether the nature of that prejudice (if any) differs at any

  particular stage of the litigation, and whether any prejudice can be mitigated.” Sealed Plaintiff,

  537 F.3d at 190. “Fundamental principles of fairness suggest that when a case involves




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  potentially damaging allegations, plaintiffs who publicly accuse defendants of misconduct in

  civil suits should sue under their real names.” Doe v. Zinsou, No. 19 Civ. 7025 (ER), 2019 WL

  3564582, at *8 (S.D.N.Y. Aug. 6, 2019) (denying Plaintiff’s request to proceed anonymously

  and holding “there is, at minimum, slight prejudice to Defendants in granting Plaintiff continued

  anonymity.”)

            Doe was the victim of sexual assault at the hands of Roe. Roe then brought this suit—

  anonymously—against Doe for defamation. Roe’s anonymity will hamper Doe’s ability to

  defend against Roe’s defamation allegation, particularly with respect to evidencing her truth

  defense and challenging Roe’s credibility. See Skyline Automobiles, Inc., 375 F.Supp.3d at 407

  (“Allowing Plaintiff to proceed anonymously would disadvantage Defendants at all stages of

  litigation, including settlement, discovery, and trial.”)

            In Doe v. Skyline Automobiles, Inc., the court held that “Plaintiff’s anonymity would

  make it more difficult to obtain witnesses and witness testimony, Defendants would have less

  leverage in settlement negotiations, and Defendants would not be able to fully and adequately

  cross-examine the Plaintiff.” 375 F.Supp.3d at 407. The situation is similar here. If Roe is

  permitted to proceed anonymously, it will be more difficult to proceed with the litigation, from

  discovery, to potential settlement negotiations, and into trial and cross-examining Plaintiff.

  Indeed, “allowing [Roe] to remain anonymous at trial would shield [him] from accountability

  before the jury for making meritless claims.” Doe v. Delta Airlines, Inc., 310 F.R.D. 222, 225

  (S.D.N.Y. 2015) (denying Plaintiff’s request to proceed pseudonymously at trial because she put

  her credibility at issue). Thus, the sixth factor weighs against Plaintiff’s confidentiality in this

  action.




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  Factor 7: Whether the plaintiff's identity has thus far been kept confidential

          Plaintiff’s identify has never been confidential. As soon as Doe got Plaintiff Roe out of

  her dorm room after he sexually assaulted her, Doe told her roommate that Plaintiff had sexually

  assaulted her while she was asleep and that she had just kicked him out. (See Counterclaims at ¶

  197). Doe immediately alerted St. John’s University and spoke with the Paris Campus security

  guard, the Residence Assistant, the Residence Director, and the Paris Campus administrators.

  (See id. at ¶ 198-199). Doe also reported the sexual assault to the Paris police and Plaintiff was

  arrested. (See id. at ¶ 206-207). All of the students participating in the Study Abroad Program

  were aware of Doe’s allegations against Roe. In fact, Roe went so far as to label Doe a “liar”

  and a “slut” and initiated and continued a campaign of intimidation and harassment against Doe.

  (See id. at ¶ 213). Clearly, Roe, himself, was out there talking to many people. Doe certainly

  was and she identified Roe as her assailant and reported the crime and spoke out about Roe. (See

  id. at ¶¶ 224 – 26).

          When the students returned to the St. John’s Campus in Queens, they participated in the

  University’s investigation process as well as a hearing. St. John’s has represented in this action

  that Roe’s identity was made known to several school administrators and members of conduct

  boards as well as students who were interviewed as witnesses. Indeed, the only time Plaintiff’s

  identity has been kept confidential is in this lawsuit. The seventh factor weighs strongly

  against Plaintiff’s confidentiality in this action. See A.B. v. C.D., 2018 WL 1935999, at *3

  (finding that Plaintiff’s identity had not been kept confidential thus far and therefore, the seventh

  factor weighed strongly against Plaintiff).




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  Factor 8: Whether the public’s interest in the litigation is furthered by requiring the
  plaintiff to disclose his identity

          Courts also consider “whether the public’s interest in the litigation is furthered by

  requiring the plaintiff to disclose his identity.” Sealed Plaintiff, 537 F.3d at 190. If the

  issues presented are “purely legal in nature,” generally “there is an atypically weak public

  interest in knowing the litigants’ identities.” Id. However, “[w]here the litigation

  involves, not abstract challenges to public policies, but rather . . . particular actions and

  incidents, open proceedings nevertheless benefit the public as well as the parties and also

  serve the judicial interest in accurate fact-finding and fair adjudication.” Skyline

  Automobiles Inc., 375 F. Supp. 3d at 408 (quoting N. Jersey Media Grp. Inc. v. Doe Nos.

  1-5, No. 12 Civ. 6152 (VM) (KNF), 2012 WL 5899331, at *8 (S.D.N.Y. Nov. 26, 2012)).

  Because this action is not purely legal in nature and involves particular incidents of sexual

  assault, a university’s response to such sexual assault allegations, and alleged defamation

  by Doe (the sexual assault victim), the eighth factor weighs against use of a pseudonym.

  “This factor relates to the ‘general presumption that parties’ identities are public

  information,’” A.B. v. Hofstra Univ., 2018 WL 1935986, at *3 (citations omitted), and Roe

  cannot overcome this general presumption.


  Factor 9: Whether, because of the purely legal nature of the issues presented or otherwise,
  there is an atypically weak public interest in knowing the litigants’ identities

          The Plaintiff’s allegations do not present purely legal issues for adjudication. Quite the

  contrary, specific factual allegations have been made about the University’s handling of the

  investigations, hearings, findings and conclusions into Plaintiff’s alleged sexual misconduct

  against both Defendant Doe and another female student, referred to in the Complaint as “Mary

  Smith.” Plaintiff Roe also asserts a claim of defamation against Defendant Doe. The ninth




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  factor also weighs against Plaintiff because the issues presented here are not purely legal in

  nature. A.B. v. C.D., 2018 WL 1935999, at *3; Doe v. Townes, 2020 WL 2395159, at *6.


  Factor 10: Whether there are any alternative mechanisms for protecting the confidentiality
  of the plaintiff

         Alternative mechanisms for protecting the confidentiality of a plaintiff include the

  redaction of documents, sealing, protective orders, and a confidentiality agreement. See Skyline

  Automobiles Inc., 375 F. Supp. 3d at 408 (noting that “[t]here are multiple other ways a

  plaintiff’s interests can be protected, including the redaction of documents and sealing. Further,

  Plaintiff could seek a protective order, or the parties could enter a confidentiality agreement”

  (citations omitted)). “If a viable alternative to complete anonymity exists, this factor weighs

  against a finding for anonymity.” Doe v. Solera Capital LLC, No. 18 CIV. 1769 (ER), 2019 WL

  1437520, at *8 (S.D.N.Y. Mar. 31, 2019), reconsideration denied, 2019 WL 5485210 (S.D.N.Y.

  Oct. 25, 2019) (citing Doe v. United States, 2017 U.S. Dist. LEXIS 83745, at *5, 2017 WL

  2389701 (S.D.N.Y. June 1, 2017)).

         Roe’s identity has not been kept confidential outside of this lawsuit. Doe immediately

  alerted St. John’s University, the Paris Campus security guard, the Residence Assistant, the

  Residence Director, the Paris Campus administrators, and the Paris police immediately after Roe

  sexually assaulted her. (See Counterclaims at ¶198-199 & ¶ 206-207). All of the students

  participating in the Study Abroad Program were aware of Doe’s allegations against Roe. When

  the students returned to the St. John’s Campus in Queens, Roe’s identity was made known to

  several school administrators with a role in the investigation and conduct hearing, members of

  conduct boards, and students who were interviewed as witnesses. The only time Plaintiff’s




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  identity has been kept confidential is in this lawsuit and there are other means available to seal

  and protect any confidential information from public disclosure.

          All factors weigh against Roe proceeding anonymously in this action.

  II.     IF SJU’S MOTION TO DISMISS IS GRANTED, PLAINTIFF CANNOT
          PROCEED AGAINST DEFENDANT DOE BECAUSE THERE IS NO
          SUPPLEMENTAL JURISDICTION OVER DOE

          An action should be dismissed for lack of subject matter jurisdiction under Fed. R. Civ.

  P. 12(b)(1) if the plaintiff fails to satisfy a jurisdictional requirement. If St. John’s University is

  dismissed from this action, this Court will lack subject matter jurisdiction over the remaining

  defamation claim against Defendant Doe because the claim does not implicate a federal question

  and there is no diversity between the parties pursuant to 28 U.S.C. § 1332.

          Under 28 U.S.C. § 1367, “in any civil action of which the district courts have original

  jurisdiction, the district courts shall have supplemental jurisdiction over all other claims that are

  so related to claims in the action.” A District Court may, at its discretion, exercise supplemental

  jurisdiction over state law claims even where it has dismissed all claims over which it had

  original jurisdiction, although it cannot exercise supplemental jurisdiction unless there is first a

  proper basis for original federal jurisdiction. Olle v. Columbia Univ., 332 F.Supp.2d 599, 620

  (S.D.N.Y. 2004).

          Plaintiff brought claims under Title IX of the Education Amendments of the 1972 (Title

  IX) against Defendant St. John’s arise under federal law, and thus, fulfill the requirements for

  federal question jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1343. (See Amend. Compl. at ¶

  5).

          Plaintiff alleges this Court has supplemental jurisdiction over his claim against Defendant

  Doe pursuant to 28 U.S.C. §1367. (See Amend. Compl. at ¶ 6). The Court’s supplemental




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  jurisdiction over Doe is directly tied to the Title IX claims against St. John’s. St. John’s has

  moved to dismiss all claims, and if the Title IX claims against St. John’s are dismissed, this court

  will no longer have jurisdiction over the claim against Doe.

          Absent federal question jurisdiction or supplemental jurisdiction, the federal district

  courts have subject matter jurisdiction over claims where there is diversity of citizenship

  between the parties and the amount in controversy exceeds $75,000. 28 U.S.C. § 1332. A

  litigant must satisfy both prongs in order to invoke diversity jurisdiction.

          Diversity Jurisdiction requires complete diversity: no plaintiff and defendant may be

  citizens of the same state. Wis. Dep’t of Corrections v. Schacht, 524 U.S. 381, 388 (1998) (“A

  case falls within the federal court’s ‘original’ diversity ‘jurisdiction’ only if diversity of

  citizenship among the parties is complete, i.e., only if there is no plaintiff and no defendant who

  are citizens of the same state.”). The presence of a nondiverse party automatically destroys

  diversity, divesting the court of jurisdiction over the case, a defect that can neither be waived nor

  cured through consent. Id. at 389.

          In the present matter, Plaintiff cannot satisfy the diversity of citizenship requirement

  necessary for this court to exercise jurisdiction over Plaintiff’s claim against Defendant Doe. For

  the purposes of diversity jurisdiction, “[a]n individual’s citizenship . . . is determined by his

  domicile.” Palazo v. Corio, 232 F.3d 38, 42 (2d Cir. 2000). “Domicile is the place where a

  person has his true fixed home and principal establishment, and to which, whenever he is absent,

  he has the intention of returning.” Id. (citations omitted). Plaintiff Roe asserts he is domiciled in

  Queens, New York. (Amend. Compl. at ¶ 1). Defendant Doe avers that she is domiciled in

  Athens, New York. (Counterclaims at ¶ 4). As both Roe and Doe have citizenship in New York,




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  there is no diversity of citizenship, and thus, the court will not have jurisdiction over Roe’s

  remaining claim against Doe.

         A district court’s exercise of supplemental jurisdiction is a matter of discretion. Parker v.

  Della Rocco, 252 F.3d 663, 665–68 (2d Cir. 2001). Whether a court should consider exercising

  supplemental jurisdiction where the original basis jurisdiction has been dismissed from the case

  looks to a number of factors. Valencia v. Lee, 316 F.3d 299, 306 (2d Cir. 2003). The court looks

  at: (1) whether state law claims implicate the doctrine of preemption; (2) whether judicial

  economy, convenience, fairness, and comity dictate that the case should remain in federal court;

  (3) the existence of “novel or unresolved questions of state law;” and (4) whether state law

  claims “concern the state’s interest in the administration of its government.” Valencia v. Lee, 316

  F.3d at 306.

         Here, Roe brings a claim of defamation against Roe. This is a state law claim that does

  not implicate the doctrine of preemption, thus the first factor weighs against exercising

  supplemental jurisdiction. Second, the case is still at its early pleading stages so judicial

  economy does not support exercising supplemental jurisdiction. See Valencia v. Lee, 316 F.3d at

  307 (finding that even where pretrial discovery had been completed, the case was still in its early

  stages and thus, judicial economy did not lend toward allowing the court to continue under

  supplemental jurisdiction). Third, Roe’s claim against Doe is for defamation. This is not a novel

  or unresolved question of state law and New York state courts will be apt to handle such a claim.

  Lastly, all parties in this lawsuit are private parties, and as such Roe’s claim for defamation does

  not “concern the state’s interest in the administration of its government.” Id. at 306.

         None of the four factors supporting supplemental jurisdiction are applicable in this case.

  Therefore, if the Court dismisses the Title IX claims against St. John’s—the claims providing for




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  the court’s original jurisdiction over this case—then the court must dismiss the claim against Doe

  for lack of subject matter jurisdiction.

                                             CONCLUSION

         For the foregoing reasons, Defendant Jane Doe respectfully requests that:

                 1.      Should this Court grant Defendant St. John University’s Motion to

                         Dismiss, Defendant Jane Doe respectfully requests that this Court order

                         Plaintiff to proceed under his legal name, and discontinue the action in this

                         Court for lack of supplemental jurisdiction over Defendant Doe, along

                         with any other and/or further relief that this Court deems just and proper;

                         or

                 2.      Should this Court deny Defendant St. John’s Motion to Dismiss,

                         Defendant Jane Doe respectfully requests that this Court order Plaintiff to

                         proceed under his legal name, amend the case caption accordingly as well

                         as any other/and or further relief that this Court deems just and proper.




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   Dated: June 29, 2020                     Respectfully submitted,
          New York, New York
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